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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

WILLIE MOODY, JR.,                            )
                                              )
     Plaintiff,                               )
                                              )
v.                                            )
                                              )     CIV. ACTION NO. 2:19-cv-730-SRW
                                              )
SES OF MONTGOMERY, LLC,                       )
a domestic limited liability company,         )
                                              )
     Defendant.                               )

                                   RULE 26(f) ORDER

       The parties are hereby reminded of the obligation, imposed by Rule 26(f) of the

Federal Rules of Civil Procedure, to confer and to develop a proposed discovery plan and

other information as required for filing the report of the parties’ planning meeting.

Accordingly, it is

       ORDERED that the Rule 26(f) report containing the discovery plan shall be filed

as soon as practicable but not later than May 5, 2020.

       Dispositive motions shall be filed no later than 180 days prior to the pretrial

hearing/conference date. If the parties seek to vary from that schedule, they should present,

in the plan, specific case related reasons for the requested variance. In their Rule 26(f)

report, however, the parties should assume that the 180-day requirement will apply when

the court enters the Rule 16(b) Uniform Scheduling Order (“USO”).

       It is also the policy of this district that Rule 26(a)(3) witness list exchange (§ 9

USO), deposition designations (§ 10 USO), and exchange of trial exhibits and evidence (§
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11 USO) occur no later than 42 days prior to trial, to allow appropriate time for filing and

resolution of objections and motions related thereto. The parties may agree to longer

deadlines, but shorter deadlines ordinarily will not be allowed.

       This case ordinarily will be set for trial during one of the presiding judge’s regularly

scheduled civil trial terms, within 14 to 16 months of this order if a term is available and,

if not available, then as soon as possible thereafter.1 The pretrial date is normally set within

four to eight weeks of a scheduled trial term. The dates of each judge’s civil trial terms are

available on the court’s website located at http://www.almd.uscourts.gov.

       The court may or may not hold a scheduling conference before issuing a scheduling

order. If the court holds a scheduling conference, counsel may participate in the scheduling

conference by conference call unless otherwise ordered by the court.

       The scheduling order entered by the court will follow the form of the Uniform

Scheduling Order adopted by the judges of this court. The Uniform Scheduling Order is

also available on the court’s website.

       Additionally, the parties are hereby reminded that each has the right to consent or

request reassignment. The parties should now confirm their selection in writing. See

Rembert v. Apfel, 213 F.3d 1331 (11th Cir. 2000); Fed. R. Civ. P. 73(b)(2) (the parties are




1
  In selecting a civil trial term from the “Magistrate Judges Combined” calendar, the parties are
not limited to the trial term of the presiding Magistrate Judge. This cause can be set for a jury trial
before the undersigned Magistrate Judge during the civil trial term of any Magistrate Judge. The
Magistrate Judges set consolidated jury terms. This means that all the Magistrate Judges’ cases
set during approximately a two-week period will have juries selected on a single date.

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free to withhold consent without fear of adverse substantive consequences). Accordingly,

counsel for the parties are

       DIRECTED to complete the appropriate attached form so that the form is received

by the Clerk on or before May 1, 2020.

       Note:      CONSENT       FORMS          MAY     NOW       BE      SUBMITTED

ELECTRONICALLY. If a party elects to complete the consent form, counsel may log

into the Case Management/Electronic Case File (CM/ECF) system, select the

Magistrate Judge Consent Form event, and electronically prepare and submit the

form. In the alternative, counsel may complete the attached consent form and mail it

to the Clerk of the Court. Do NOT electronically file the consent form into the record.

If you have any questions about electronic consent submission, please contact the

Clerk’s Office.

       If a party elects to complete the form requesting reassignment to a district

judge, counsel must complete the attached form and mail it to the Clerk’s Office.

There is no option to log into CM/ECF and electronically submit the reassignment

form. Do NOT electronically file the reassignment form into the record.

       DONE, on this the 27th day of April, 2020.

                                               /s/ Susan Russ Walker
                                               Susan Russ Walker
                                               United States Magistrate Judge




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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA

                          EXPLANATION OF ASSIGNMENT TO
                         UNITED STATES MAGISTRATE JUDGE

       This civil case has been randomly assigned to a United States Magistrate Judge of

this court. In accordance with 28 U.S.C. 636(c), the Magistrate Judges of this court are

designated to conduct any and all proceedings in a jury or non-jury civil case and order the

Entry of final judgment upon the consent of all parties to a case. Any appeal from a

judgment entered by a Magistrate Judge is taken directly to the United States Court of

Appeal for the Eleventh Circuit in the same manner as any appeal from any judgment

entered in this court.

       Any party to this lawsuit has the right to consent or decline consent to the

jurisdiction of a Magistrate Judge. To exercise your right to consent you should complete

the consent form and return it to the Clerk of the Court as indicated in the court’s order.

Litigants, without concern for any adverse consequences, freely may decline consent to the

jurisdiction of a Magistrate Judge. If you decline consent to the jurisdiction of a Magistrate

Judge, this case will be reassigned randomly to a District Judge.




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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

WILLIE MOODY, JR.,                           )
                                             )
     Plaintiff,                              )
                                             )
v.                                           )
                                             )      CIV. ACTION NO. 2:19-cv-730-SRW
                                             )
SES OF MONTGOMERY, LLC,                      )
a domestic limited liability company,        )
                                             )
     Defendant.                              )

CONSENT TO JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of Title 28, U.S.C. § 636(c), the undersigned party
or parties to the above-captioned civil matter hereby confirm in writing their consent to a
United States Magistrate Judge’s conducting any and all further proceedings in the case,
including trial, and ordering the entry of a final judgment.

_____________________              __________________________________________
    Date                           Signature

                                   __________________________________________
                                   Counsel For (print name of party or parties)

                                   __________________________________________
                                   Address, City, State, Zip Code

                                   __________________________________________
                                   Telephone Number

                                   Return form to:
 Debra Hackett, Clerk, United States District Court for the Middle District of Alabama,
                1 Church Street, B110; Montgomery, Alabama 36104

                                            OR

                   follow instructions in above order to complete online



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                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

WILLIE MOODY, JR.,                           )
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     Plaintiff,                              )
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v.                                           )
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                                             )
SES OF MONTGOMERY, LLC,                      )
a domestic limited liability company,        )
                                             )
     Defendant.                              )

                    REQUEST FOR REASSIGNMENT OF CASE
                    TO A UNITED STATES DISTRICT JUDGE

       The undersigned party has read the Notice of Assignment to United States
Magistrate Judge and hereby declines to consent to the Magistrate Judge’s exercise of civil
jurisdiction in this case. The undersigned party requests reassignment of this case to a
United States District Judge. The party understands that this request may not be revoked.

_____________________             __________________________________________
    Date                          Signature

                                  __________________________________________
                                  Counsel For (print name of party or parties)

                                  __________________________________________
                                  Address, City, State, Zip Code

                                  __________________________________________
                                  Telephone Number

                                   Return form to:
 Debra Hackett, Clerk, United States District Court for the Middle District of Alabama,
                1 Church Street, B110; Montgomery, Alabama 36104




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